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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

CHARLES NICHOLS, individually and as )
father and next best friend of B. N., )
6201 Joyce Drive                      )                Case No.:
Temple Hills, Maryland 20748          )
                                      )
And                                   )
                                      )
BONNECIA POTTS, individually and as )
mother and next best friend of B. N., )
6201 Joyce Drive                      )
Temple Hills, Maryland 20748          )
                                      )
                        Plaintiffs,   )
        v.                            )
                                      )
PRINCE GEORGE’S COUNTY                )
c/o Jared M. McCarthy                 )
Center Administration Building        )
14741 Governor Oden Bowie Drive       )
Suite 5121                            )
Upper Marlboro, Maryland 20772        )
                                      )
                        Defendant.    )
                                      )

                                  COMPLAINT
                    DISABILITY DISCRIMINATION IN STATE AND
                  LOCAL GOVERNMENT PROGRAMS AND SERVICES

   I.        INTRODUCTION

        1.      This is an action seeking redress of violations of civil rights guaranteed Plaintiff by

the Americans with Disabilities Act, 42 U.S.C. 12-101 et seq., and § 504 of the Rehabilitation Act,

29 U.S.C. – Plaintiffs were denied the services of a qualified speech therapist and/or the use of

auxiliary communication devices during the interview process by Prince George’s County Police.

        2.      Plaintiffs seek declaratory, equitable and monetary relief under the Americans with

Disabilities Act and the Rehabilitation Act. Specifically, Plaintiffs seek a declaration that the




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governmental entities’ failure to ensure effective communication, properly train and supervise

their employees and reasonably modify their policies and practices violated each law

aforementioned; a declaration that all defendants wrongfully refused to provide Plaintiff the

services of a speech therapist, and refused to provide auxiliary communication devices; an order

directing Defendant to correct its practices, damages, and all other appropriate relief to which

Plaintiffs are entitled under the law.

   II.        JURISDICTION

         3.      Jurisdiction of this Court is invoked under 28 U.S.C. § 1331, because this action

involved questions under Federal laws (the Americans with Disabilities Act, 42 U.S.C. 12-101 et

seq., and § 504 of the Rehabilitation Act, 29 U.S.C. § 794). This Court also has jurisdiction under

28 U.S.C. § 1367.

         4.      Venue is proper in this district because Plaintiff resides in this district in Prince

George’s County Maryland, the events underlying the complaint occurred in Prince George’s

County, Maryland, and Prince George’s County is a department or agency of the State of

Maryland.

         5.      Plaintiffs have provided notice of their intention to file this Complaint to all

governmental entities. This action is timely filed.

         6. The remedies requested are:

   A. A declaration that Prince George’s County’s failure to reasonably modify practices when

         interacting with individuals with difficulty communicating – specifically, Defendants

         failure to provide Plaintiff with a qualified speech therapist during the interview – violated

         the Americans with Disabilities Act;




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   B. A declaration that Prince George’s County’s failure to reasonably modify practices when

          interacting with individuals with speech impediments during interview – violated the

          Rehabilitation Act;

   C. A declaration that Prince George’s County’s failure to reasonably modify its practices

          when interacting with individuals with speech impediments – specifically, Defendant’s

          failure to provide the Plaintiff with an auxiliary communication device during the interview

          – violated both the Americans with Disabilities Act and the Rehabilitation Act;

   D. An award of damages;

   E. An award of attorney’s fees and costs;

   F. Any and all other relief to which they may be entitled and as the nature of the case requires.

   III.         PARTIES

          7.      Plaintiff, Charles Nichols is the father of B.N. Mr. Nichols lives in Prince George’s

County, Maryland.

          8.      Plaintiff, Bonnecia Potts is the mother of B.N. Ms. Potts lives in Prince George’s

County, Maryland.

          9.      Plaintiff, B.N. is a minor child with a disability. B.N. lives with his parents in Prince

George’s County Maryland.

          10.     Defendant Prince George’s County funds and maintains the Prince George’s

County Police Department. The Prince George’s County Police Department operates under and

administers a set of law enforcement and support policies, practices and customs including

budgeting for support services such as auxiliary communication devices and speech therapist, and

hiring, training and supervision of its employees including training in the use of communication

with citizens with speech impediments.




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         11.     The State of Maryland promulgates policies regarding the use of speech therapist

and auxiliary communication devices by employees of the State Department of Public Safety and

Correctional Services.

   IV.         CLAIMS

                                            COUNT I
            (Violation of the Americans with Disabilities Act – Prince George’s County)

         12. Plaintiff repeats and re-states paragraphs 1through 10.

         13.     At all times relevant herein, the employees of Prince George’s County had a duty

to uphold the law of the United States, including the American with Disability Act.

         14.     Officers and/or employees of Prince George’s County were acting under color of

law and on behalf of Prince George’s County which approved and/or condoned their actions and

this any and all liability on the part of the officers and/or employees is imputed to Prince George’s

County.

         15.     Defendant willfully, intentionally and maliciously discriminated against Plaintiffs

because of B.N.’s disability, by refusing to modify its policy and practice and thereby failing to

provide Plaintiff with a qualified speech therapist and/or auxiliary communication device during

the interview process.

         16.     Defendant’s actions, both of commission and omission, were in violation of

Plaintiffs rights under the Americans with Disabilities Act, 42 U.S.C. § 12-101 et seq., causing

Plaintiffs significant damage.

                                             COUNT II
               (Violation of § 504 of the Rehabilitation Act – Prince George’s County)

         17. Plaintiff repeats and re-states paragraphs 1 through 10.




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        18.     Defendant’s actions, both of commission and omission, were in violation of

Plaintiffs rights under the Rehabilitation Act, 29 U.S.C. §794, causing Plaintiff significant

damages.

                                          COUNT III
                 (Negligent Training and Supervision – Prince George’s County)

        19. Plaintiffs repeat and re-state paragraphs 1 through 10.

        20.     At all times relevant herein, the employees and/or officers of Prince George’s

County were acting under the direction and control – pursuant to the rules, regulations, policies

and procedures, including training in communication with citizens with speech impediments – of

Prince George’s County.

        21.     Defendant, Prince George’s County acted negligently, carelessly, recklessly,

maliciously and with deliberate indifference by failing to properly train, supervise, control, direct

and monitor the employees and/or officers on duty at the Prince George’s County Police

Department in their duties and responsibilities with regard to communication with citizens with

speech impediments as required by the Americans with Disabilities Act.

        22.     As a direct and proximate result of the acts and omissions of the Defendant Prince

George’s County, Plaintiff was discriminated against by the Defendant’s refusal to ensure effective

communication through the use of a speech therapist of an auxiliary communication device.

        23.     Defendant’s actions, both of commission and omission, caused Plaintiff significant

damages.

   V.         JURY TRIAL

        24. Plaintiffs request a jury trial.

        WHEREFORE, Plaintiff respectfully requests that this Court issue judgment for Plaintiff

against Defendant as follows:



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       A.      Declare that Defendant violated Plaintiffs’ rights under the American with

Disabilities Act, Title II, 42 U.S.C. § 12-101, et seq.:

       B.      Declare that Defendant violation Plaintiffs’ rights under § 504 of the Rehabilitation

Act, 29 U.S.C. § 794;

       C.      Order Defendant to be enjoined from further violation of the Americans with

Disabilities Act;

       D.      Order Defendant to be enjoined from further violations of the Rehabilitation Act;

       E.      Award Plaintiffs compensatory damages for the financial, physical and emotional

pain and suffering and other harm caused by Defendant’s wrongful actions in the amount of Two

Hundred Thousand Dollars ($200,000.00);

       F.      Award Plaintiff attorney’s fees and costs;

       G.      Award Plaintiff such other and further relief as the Court deems just, reasonable

and appropriate to correct the illegality and wrongs committed.

                                               Respectfully submitted,

                                               THE MCDANIEL LAW GROUP, P.L.L.C


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